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RACHAEL A. HONIG
Acting United States Attorney
ENES HAJDARPASIC
Assistant United States Attorney
970 Broad Street, Suite 700
Newark, NJ 07102
Tel.: (973) 297-2046
Fax: (973) 297-2010
E-mail: enes.hajdarpasic@usdoj.gov


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 RAJPATH USA LLC, et al.                    HON. CLAIRE C. CECCHI

              Plaintiff,                    Civil Action No. 2:21-cv-04800-CCC-
                                            ESK
       v.
                                            ORDER
 U.S. CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.

              Defendants.

      This matter having been brought before the Court upon Defendants’ letter

request, dated March 26, 2021, requesting an extension of time to file an opposition

to Plaintiffs’ motion for a preliminary injunction (ECF No. 3), and with their no

opposition and for good cause shown;

                      1 day of __________________,
      IT IS on this ____          April            2021,

      ORDERED that Defendants’ time to file an opposition to Plaintiffs’ motion for

preliminary injunction is extended until April 19, 2021.


                                                       ___________________________
                                                       CLAIRE C. CECCHI
                                                       United States District Judge
